      Case 20-62169-lrc         Doc 72 Filed 08/28/20 Entered 08/31/20 08:23:03           Desc Main
                                       Document
                                  UNITED             Page 1 of 7 COURT
                                          STATES BANKRUPTCY
                                   NORTHERN DISTRICT OF GEORGIA
                                           ATLANTA DIVISION

      IN RE:                                                   Case No.:     to -‘21449-Lee
            is4;440441-04x/                                    Judge:       lisvi gel             j
                                                               Chapter:

                        Debtor(s)

                                                AMENDMENT

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      Dated:                              Signature(s):


          Cf)


          6:J                             Printed Name(s):

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                    Case 20-62169-lrc              Doc 72          Filed 08/28/20 Entered 08/31/20 08:23:03                                  Desc Main
                                                                   Document      Page 2 of 7
     Fill in this information to identify your case:


     Debtor 1          CYNTHIA                                ANDERSON-GRAYSON
                        First Name              Middle Name                 Last Name

     Debtor 2
     (Spouse, if filing) First Name             Middle Name                 Last Name


     United States Bankruptcy Court for the: Northern District of Georgia                   El
     Case number 20-BK-62169-LRC                                                                                                                    Check if this is an
      (If known)
                                                                                                                                                    amended filing



   Official Form 106C
    Schedule C: The Property You Claim as Exempt                                                                                                               04/19

   Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
   Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
   space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
   your name and case number (if known).

    For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
    specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
    of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
    retirement funds—may be unlimited in dollar amount. However, If you claim an exemption of 100% of fair market value under a law that
    limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
    would be limited to the applicable statutory amount.


     Part 1:         Identify the Property You Claim as Exempt


     1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
          El You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          C3 You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

     2. For any property you listen Schedule A/B that you claim as exempt, fill in the information below.


           Brief description of the property and line on       Current value of the         Amount of the exemption you claim        Specific laws that allow exemption
           Schedule NB that lists this property                portion you own
                                                               Copy the value from          Check only one box for each exemption.
                                                               Schedule NB

          Brief                                                                                 $   0.00
          description:
          Line from
                                                                                            U 100% of fair market value, up to
          Schedule A/B:                                                                         any applicable statutory limit

          Brief
          description:                                                                       Us
          Line from
                                                                                            1:1 100% of fair market value, up to
                                                                                                any applicable statutory limit
          Schedule A/B:
          Brief
          description:
          Line from
                                                                                            0 100% of fair market value, up to
          Schedule A/B•                                                                         any applicable statutory limit


     3. Are you claiming a homestead exemption of more than $170,350?
        (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
               No
          0    Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                Si     No
                       Yes




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               Case 20-62169-lrc              Doc 72          Filed 08/28/20 Entered 08/31/20 08:23:03                                Desc Main
                                                              Document      Page 3 of 7
 Fill in this information to identify your case:


 Debtor 1           CYNTHIA                                 ANDERSON-GRAYSON
                    First Name             MMdle Name                   Last Name

 Debtor 2
 (Spouse, if filing) First Name            Middle Name                  Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number          20-BK-62169-LRC                                                                   Check if this is:
  (If known)
                                                                                                              An amended filing
                                                                                                        CI A supplement showing postpetition chapter 13
                                                                                                              income as of the following date:
Official Form 1061                                                                                            MM / DD/ YYYY

Schedule I: Your Income                                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1:           Describe Employment


11. Fill in your employment
    information.                                                              Debtor 1                                   Debtor 2 or non-filing spouse

    if you have more than one job,
    attach a separate page with
    information about additional         Employment status                 0 Employed                                    0    Employed
    employers.                                                             i21 Not employed                              CI   Not employed

    Include part-time, seasonal, or
    self-employed work.
                                         Occupation
    Occupation may include student
    or homemaker, if it applies.
                                         Employer's name

                                         Employer's address
                                                                           Number Street                               Number     Street




                                                                           City            State   ZIP Code            City                  State ZIP Code

                                         How long employed there?


                   Give Details About Monthly Income
r1:12
    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                   For Debtor 1         For Debtor 2 or
                                                                                                                        non-filing spouse
  2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.              2.              0.00

  3. Estimate and list monthly overtime pay.                                                  3. +$           0.00     + $

  4. Calculate gross income. Add line 2 + line 3.                                             4.              0.00




Official Form 1061                                                 Schedule I: Your Income                                                         page 1
            Case 20-62169-lrc               Doc 72            Filed 08/28/20 Entered 08/31/20 08:23:03                         Desc Main
                                                              Document      Page 4 of 7
Debtor 1       CYNTHIA                                      ANDERSON-GRAYS C16              Case number (if known) 20-BK-62169-LRC
               First Name   Middle Name         Last Name



                                                                                           For Debtor 1         For Debtor 2 or
                                                                                                                non-filing spouse

    Copy line 4 here                                                             44.       $

I 5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                              5a.    $         0.00          $
     5b. Mandatory contributions for retirement plans                               5b.    $         0.00          $
     5c. Voluntary contributions for retirement plans                               5c.    $         0.00          $
     5d. Required repayments of retirement fund loans                               5d.    $         0.00          $
     5e. Insurance                                                                  5e.    $         0.00          $
     5f. Domestic support obligations                                               5f.    $         0.00          $

     5g. Union dues                                                                 5g.    $         0.00          $

     5h. Other deductions. Specify:                                                 5h. +$           0.00      + $

  6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.     6.    $         0.00          $


  7. Calculate total monthly take-home pay. Subtract line 6 from line 4.             7.    $          0.00

 8. List all other income regularly received:
     8a. Net income from rental property and from operating a business,
         profession, or farm
         Attach a statement for each property and business showing gross
         receipts, ordinary and necessary business expenses, and the total                           0.00
         monthly net income.                                                        8a.
     8b. Interest and dividends                                                     8b.    $         0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
         Include alimony, spousal support, child support, maintenance, divorce                       0.00
         settlement, and property settlement.                                  8c.
     8d. Unemployment compensation                                                  8d.    $         0.00
     8e. Social Security                                                            8e.    $         0.00
     Of. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify:                                                                   8f.    $         0.00

     8g. Pension or retirement income                                               8g.    $         0.00

     8h. Other monthly income. Specify:                                              8h. +$          0.00
  9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + Of +8g + 8h.           9.              0.00

10. Calculate monthly income. Add line 7 + line 9.                                                   0.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.       10.

11. State all other regular contributions to the expenses that you list in Schedule J
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                      11.   $            0.00

12.Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
   Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies             12.
                                                                                                                                                     0.00
                                                                                                                                        Combined
                                                                                                                                        monthly income
  13.Do you expect an increase or decrease within the year after you file this form?
        No.
     Li Yes. Explain:


Official Form 1061                                              Schedule I: Your Income                                                     page 2
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 Fill in this information to identify your case:

 Debtor 1                t
                       FOØ Name
                                      9    er           7m .141
                                                       -(1
                                             Middle Nine           WI Name

 Debtor 2
 (Spouse, If filing)   First Nome            Middle Name           Lent Name


 United States Bankruptcy Court for the:   A(64dDIStrIctofgegt-
 Case number                 •
                       (If known)
                                    Ve? Z-kr                                                                                        RI Check if this is an
                                                                                                                                       amended filing




Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the Information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:         Summarize Your Assets


                                                                                                                                 Your assets
                                                                                                                                 Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
   is. Copy line 55, Total real estate, from Schedule A/B


    lb. Copy Ilne 62, Total personal property, from Schedule A/B                                                                     $               %OD


    ic. Copy line 63, Total of all property on Schedule NB                                                                           $



                Summarize Your Liabilities



                                                                                                                                  Your liabilities
                                                                                                                                  Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Prope,rty (Official Form 106D)
    2a. Copy the total you Ilsted in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
    3a.Copy the total claims from Part 1 •(priority unsecured claims) from line 6e of Schedule E/F

    3b.Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6) of Schedule E/F



                                                                                                        Your total liabilities



                Summarize Your Income and Expenses


4. Schedule I: Your; Income (Official Form 1061)                                                                                     $           ‘22
   Copy your combined monthly Income from line 12 of Schedule I

5. Schedule J: Your Expenses (Official Form 106J)
   Copy your monthly expenses from line 22c of Schedule J                                                                            $         70.a

Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical information                     page 1 of 2
            Case 20-62169-lrc                     Doc 72        Filed 08/28/20 Entered 08/31/20 08:23:03                                      Desc Main
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   Debtor
                   Flt Nam      Middle Name          Lest Nam
                                                                                                  Case number (if known)    1-                      zee
    Part 4:       Answer These Questions for Administrative and Statistical Records

    6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

        0 No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
            Yes


    7. What kind of debt do you have?

        Zi Your debts are primarily consumer debts. Consumer debts are those "Incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

        )O Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

                      -
  re. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
      Form 122A-1 Line 11; OR, Form 1228 Line 11; OR, Form 122C-1 Line 14.-                                                               $    efi.e)
                                                                                      .
                                                                                                                   .

   ..   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                          Total claim
              '
         From Part.4 on Schedule E/F, copy the following:


        9a.Domestic support obligations (Copy line 6a.)


        9b.Taxes and certain other debts you owe the government. (Copy line 6b.)                          $                                     -

        9c.Claims for death or personal injury while you were Intoxicated. (Copy line 6c.)
                                                                                                                                                    .

        9d.Student loans. (Copy line 6f.)                                                                 $         / 5 / /44 f     e7D
                                              .                                                                                                              .
        9e, Obligations arising out of a separation agreement or divorce that you did not report as                    0
            priority claims. (Copy line 6g.)                                                              $


        9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)         +$
                                                                                                                           d, ere

        9g.Total. Add lines 9a through 9f.                                                                $         /,c,     /b6,4




Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical information                                                page 2 of 2
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                                     UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF GEORGIA
                                                        DIVISION



   IN RE:                                                 )      Case No:    2.0-6s/(011-44e
                            4o/e,}562t-WreygPij                  Chapter       Napeer 7
                       Debtor(s)

                                                  CERTIFICATE OF SERVICE


      I, the undersigned, hereby certify under penalty of perjury that I am, and at all times hereinafter mentioned,
   was more than 18 year of age, and that on the              aday of      ase , 202a I served a copy of the
   AMENDMENT which was filed in this bankruptcy matter on the              day of              , 20_.

   Mode of service (check one):                    1/ MAILED                        HAND DELIVERED

   Name and Address of each party served (If necessary, you may attach a list.):

                                                          AN4714044;4/1              blow Ai 64,
    rustee                                                                                /       6
              OA   /
                       I.

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   I CERTIFY UNDER PENALTY OF PERJURY THAT T                                 SORE    IN   S TRUE AND CORRECT.

   Dated: /                                      Signature:

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                                                 Address:
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                                                                            onrceade- at 3oa-g
                                                 Phone:                     '70 . 74 • /.55.4
